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                                 United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERM AN DIVISION


     UNITED STATES OF AMERICA                         §
                                                      §
     vs.                                              §            Case No. 4:05cr173
                                                      §            (Judge Schneider)
     EUGENE GRIFFIN, SR. (3)                          §

                     MEMORANDUM ADOPTING REPORT AND
             RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

             Came on for consideration the above-referenced criminal action, this Court having heretofore

     referred the request for the revocation of Defendant’s supervised release to the United States

     Magistrate Judge for proper consideration. Having received the report of the United States

     Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

     waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

     and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

     of the Court. It is therefore,

.            ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

     It is further

             ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

             ORDERED that Defendant is sentenced to a term of imprisonment of term of seventeen (17)

     months with no supervised release to follow. The Court recommends that Defendant be housed in

     the Bureau of Prisons, Seagoville Unit.

    SIGNED this 18th day of March, 2010.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE
